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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:08CR89
                              )
          v.                  )
                              )
REMIGIO PINTO, JR.,           )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to delay self-surrender (Filing No. 116).             The Court finds said

motion should be granted.      Accordingly,

           IT IS ORDERED that the motion is granted; defendant

shall self-surrender on November 7, 2008, to the United States

Marshal to commence service of his federal sentence.

           DATED this 30th day of October, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
